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 5 Attorney for Defendant
   ALEX LINDBERG
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                        IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                 EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,               )      CASE NO.: 10-cr-00477-LKK
11                                           )
                   Plaintiff,                )
12                                           )      STIPULATION AND ORDER
     v.                                      )      10-cr-00477 CONFERENCE AND
13                                           )      EXCLUDING TIME UNDER THE
     ALEX LINDBERG,                          )      SPEEDY TRIAL ACT
14                                           )
                   Defendant.                )
15                                           )

16         The United States of America, through its counsels of record, Mc Gregor W. Scott, United

17 States Attorney for the Eastern District of California, and Michael Anderson, Assistant United States
18 Attorney, and defendant Alex Lindberg, through his attorney, Ronald Peters, Esq, hereby stipulate and
19 agree that the judgment and sentencing hearing scheduled for October 16, 2012 at 9:15 am should be
20 continued to November 6, 2012 at 9:15 a.m.
21         The defendant and his attorney require additional time to address issues and possible variances

22 not covered in the plea agreement. Both parties expect this matter to resolve without proceeding to trial.
23
24         Parties agree that time should be excluded pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv), and

25 Local Code T-4 - reasonable time to prepare and for continuity of counsel. The parties agree that time
26 be excluded under this provision from October 16, 2012, to and including November 6, 2012.
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           U.S. vs. LINDBERG                                             STIPULATION AND ORDER TO
                                                                         CONTINUE SENTENCING
          Case 2:10-cr-00477-MCE Document 184 Filed 10/16/12 Page 2 of 3


 1 DATE: October 15, 2012                         Respectfully submitted
 2
                                                  /s/Ron Peters
 3                                                RON PETERS
                                                  Attorney for Defendant
 4                                                ALEX LINDBERG
 5
 6 DATE: October 15, 2012                         /s/ Ron Peters for Michael Anderson
                                                  Michael Anderson
 7                                                Assistant U.S. Attorney
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         U.S. vs. LINDBERG                                STIPULATION AND ORDER TO
                                                          CONTINUE SENTENCING
             Case 2:10-cr-00477-MCE Document 184 Filed 10/16/12 Page 3 of 3


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                                    ORDER FINDING EXCUSABLE TIME
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            For the reasons set forth in the accompanying stipulation and declaration of counsel,
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     the status conference in the above-entitled action is continued to November 6, 2012 at 9:15 a.m.
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     The court finds excusable time in this matter from October 16, 2012 through November 6, 2012
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     under 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, to allow continuity of counsel and
 6
     to allow reasonable time necessary for effective presentation. For the reasons stipulated by
 7
     the parties, the Court finds that the interest of justice served by granting the requested
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     continuance outweigh the best interests of the public and the defendant in a speedy trial. 18
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     U.S.C. 3161(h)(8)(A), (h)(8)(B)(iv).
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            IT IS SO ORDERED.
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     Date: October 15, 2012
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            U.S. vs. LINDBERG                                                STIPULATION AND ORDER TO
                                                                             CONTINUE SENTENCING
